         Case 2:18-cv-00585-RFB-NJK Document 487
                                             486 Filed 06/30/22
                                                       06/29/22 Page 1 of 3
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13                               UNITED STATES DISTRICT COURT
14                                       DISTRICT OF NEVADA

15   UNIVERSAL ENTERTAINMENT                              Case No.: 2:18-CV-00585 (RFB)(NJK)
     CORPORATION, a Japanese corporation,
16                 Plaintiff,                             STIPULATION AND ORDER RE:
17          vs.                                           PENDING DISCOVERY MOTIONS
                                                          (ECF NOS. 478 AND 482)
18   ARUZE GAMING AMERICA, INC., a Nevada
     corporation, KAZUO OKADA, an individual,             (FIRST REQUEST RE: EXTENSION
19                                                        FOR OPPOSITION TO ECF NO. 482)
                   Defendants.
20

21   ARUZE GAMING AMERICA, INC., a Nevada
     corporation, KAZUO OKADA, an individual,
22                 Counter-Claimants,
23          vs.

24   UNIVERSAL ENTERTAINMENT
     CORPORATION, a Japanese corporation, ARUZE
25   USA, a Nevada corporation, and JUN FUJIMOTO,
     an individual,
26
                   Counter-Defendants.
27

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           Case 2:18-cv-00585-RFB-NJK Document 487
                                               486 Filed 06/30/22
                                                         06/29/22 Page 2 of 3
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 1          The parties have conferred on pending discovery motions (ECF Nos. 478 and 482) and have
 2   agreed to the following stipulations to simplify the issues before the Court and regarding the briefing
 3   schedule:
 4          1. Plaintiff/Counter-Defendant Universal Entertainment Corporation (“UEC”) withdraws its

 5               Motion to Compel Documents Relating to Defendants’ License Allegations (ECF No. 478,
 6               filed under seal), including the fee request made in its reply brief (ECF No. 483) on that
 7               motion to compel;
 8          2. UEC shall have a two-week extension of time to respond to Defendants’ Motion to

 9               Compel a Supplemental Response to Defendants’ Interrogatory Request No. 11 (ECF No.
10               482, filed under seal on June 17, 2022), from July 1, 2022 to July 15, 2022. This is the
11               first stipulation for extension of time regarding UEC’s opposition to that motion to
12               compel. This extension request is necessary to provide counsel additional time to evaluate
13               the motion to compel, and to provide additional time to prepare and coordinate the filing
14               with counsel’s Japanese-based client.
15          3. UEC shall serve by August 15, 2022, supplemental responses to Interrogatory Request

16               No. 11 on the non-patent claims, Counts 5, 6 and 7, except that for damages related to
17               Count 5’s allegation of a “potential agreement between and UEC and … International
18               Game Technology, Inc., who is part of a patent cross-licensing agreement that related to
19               at least some of UEC’s Patent Rights.” (Second Amended Complaint, ECF No. 43, ¶102)
20               UEC shall supplement only if and to the extent it can;
21   //

22   //

23   //

24   //

25   //

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            Case 2:18-cv-00585-RFB-NJK Document 487
                                                486 Filed 06/30/22
                                                          06/29/22 Page 3 of 3
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 1           4. Defendants withdraw their Motion to Compel a Supplemental Response to Defendants’

 2               Interrogatory Request No. 11 as to the non-patent claims, Counts 5, 6 and 7 (ECF 482 pp.
 3               8-10).
 4           Accordingly, for good cause showing, the parties have agreed to the foregoing extension and
 5   stipulations.
 6           Dated this 29th day of June, 2022.
 7    EVANS FEARS & SCHUTTERT LLP                      HOLLAND & HART LLP
 8

 9    By:      /s/ Jay Schuttert                       By:      /s/ Bryce Kunimoto
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23          Defendants
                                                             IT IS SO ORDERED.
24                                                           Dated: June 30, 2022
25                                                           .
                                                             .
26                                                           _____________________________
                                                             Nancy J. Koppe
27                                                           United States Magistrate Judge
28
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